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                                    No. 23-1736

In the United States Court of Appeals for the Sixth Circuit
                       MACKINAC CENTER FOR PUBLIC POLICY

                                         AND

                                 CATO INSTITUTE,
                                 Plaintiffs-Appellants,

                                          v.

                              MIGUEL CARDONA, et al.,
                                 Defendants-Appellees.
                                 ______________
                   On Appeal from the United States District Court
                        for the Eastern District of Michigan
                                 ______________

                         Plaintiffs-Appellants’ Reply Brief
                                  ______________

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                                 INTRODUCTION

      Defendant-Appellee Department of Education (“Department”) codified the

Public Service Loan Forgiveness (“PSLF”) statute’s economic logic in a rule that states

PSLF provides financial incentives specifically to “encourage individuals to enter and

continue in full-time public service employment[.]” 34 C.F.R. § 685.219(a). The

Department now attempts to repudiate its own economic logic by contesting Plaintiffs-

Appellants’ standing as public service employers to protect the very benefit that

Congress created for them.

      Periods of forbearance do not count toward the 120-month payment-and-service

requirement needed for loan cancellation under the PSLF statue. By counting such

periods anyway, the One-Time Account Adjustment (“Adjustment”) unlawfully and

prematurely cancels the debt of affected PSLF participants, thereby extinguishing PSLF

incentive that otherwise would have encouraged them to work at public service

employers like Plaintiffs.1 This unlawful administrative cancellation erodes labor-

market advantages PSLF confers by law on public service employers like Plaintiffs.




1
 Defendants claim that the One-Time Account Adjustment includes various measures
to correct “lack of adequate records,” “loan servicers’ failures to track accurate[ly] all
qualifying payments made by borrowers[,]” and other bookkeeping errors. Appellees’
Br. at 8-9 (citing GAO, GAO-22-103720, Federal Student Aid: Education Needs to Take
Steps To Ensure Eligible Loans Receive Income-Driven Repayment Forgiveness 12 (2022)).
Plaintiffs do not challenge these corrections and instead challenge only the counting of
forbearance periods as if borrowers were actually making qualified monthly payments.

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      Undermining a statutory economic advantage inflicts a cognizable injury that is

traceable to Defendants’ conduct. The injury is redressable because halting the unlawful

counting of non-payments as monthly payments would restore PSLF’s statutory

payment-and-service requirement. Moreover, Defendants issued the Adjustment in

violation of Plaintiffs’ procedural right to notice and comment under the Administrative

Procedure Act (“APA”). That violation is a cognizable injury sufficient for standing

because it impacts Plaintiffs’ concrete interest as public service employers to fully enjoy

the recruitment and retention benefits that PSLF confers.

                                     ARGUMENT

 I.    PLAINTIFFS HAVE COMPETITOR STANDING

      Plaintiffs have competitor standing under Southwestern Pennsylvania Growth Alliance

v. Browner, 144 F.3d 984, 988–89 (6th Cir 1998) (“Growth Alliance”), which recognizes

that companies may challenge government actions that place them at a competitive

disadvantage in any marketplace in which they compete. Here, that market is the labor

market for college-educated workers. Growth Alliance has not been implicitly overruled,

as Defendants suggest. See Appellees’ Br. at 35. Nor is it distinguishable simply because

the Adjustment directly operates on borrowers-employees instead of the for-profit

companies that compete with Plaintiffs to hire them. See id. Defendants still placed

Plaintiffs at a competitive disadvantage when seeking to recruit or retain those

employees.



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      Defendants’ arguments to the contrary amount to little more than a denial that

PSLF benefits public service employers. See Appellees’ Br. at 25 (“PSLF does not entitle

an employer to anything[]”) (emphasis in original). That claim is contradicted by

Defendants’ own regulations confirming that PSLF benefits public service employers

by using the promise of loan forgiveness to encourage borrowers to work for them. 34

C.F.R. § 685.219(a). Counting periods of forbearance toward PSLF’s payment-and-

service requirement results in premature cancellation of debt for affected borrowers,

which in turn eliminates their PSLF incentive to work for public service employers.

That unlawful counting economically disadvantages public service employers like

Plaintiffs relative to their non-PSLF-qualifying competitors in the labor market, most

notably for-profit employers. 2

      Defendants do not dispute that the erosion of affected borrowers’ PSLF

incentives is traceable to the Adjustment. They instead rely on an inapposite, non-

competitor case to argue that Plaintiffs must further trace affected borrowers’ specific

employment decisions to the Adjustment. See Appellees’ Br. at 32-33 (citing Simon v. E.

Ky. Welfare Rts. Org., 426 U.S. 26 (1976)). But the competitor-standing doctrine exists

precisely to supply causation between the challenged conduct and the specific decisions



2
  In addition to for-profit employers, PSLF’s definition of “public service employer”
also excludes certain nonprofit organizations, such as “a partisan political organization.”
See 34 C.F.R. § 685.219(b). Public service employers thus also receive a competitive
advantage with respect to non-PSLF-qualifying nonprofit organizations, which the
Adjustment erodes.

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of affected market actors. The linkage Plaintiffs must supply is between the challenged

conduct and “economic disadvantage,” Growth Alliance, 144 F.3d at 988, which in this

case is the Adjustment’s premature termination of financial incentives designed to

encourage affected borrowers to work for public service employers like Plaintiffs. A

favorable decision would restore those incentives and redress Plaintiffs’ economic

disadvantage relative to for-profit competitors.

   A. Economic Disadvantage Is a Cognizable Injury

       This Court recognizes that “economic disadvantage” relative to competitors “is

an alleged ‘injury in fact’[.]” Growth Alliance, 144 F.3d at 988. The Adjustment

economically disadvantages public service employers like Plaintiffs by reducing the

advantage PSLF gives to qualifying public service employers in their labor-market

competition against for-profit companies. See Opening Br. at 13–16. There is no need

to link agency action to specific economic loss, such as lost sales, revenue, or in this

case, the inability to recruit or retain specific employees. Id. at 14. In short, economic

disadvantage is the injury.

       Defendants mistakenly suggest that Already, LLC v. Nike, Inc., 568 U.S. 85 (2013),

implicitly overruled Growth Alliance. See Appellees’ Br. at 35. But “sub silentio overruling

of a Court of Appeals decision by a Supreme Court case resting on different facts is a

rare occurrence,” and “requires strong, objective evidence.” United States v. Wehunt, 230

F. Supp. 3d 838, 846 (E.D. Tenn. 2017) (quoting In re Higgins, 159 B.R. 212, 216 (S.D.

Ohio 1993)). Defendants fall far short of that exacting standard. In Already, 568 U.S. at

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88, Nike filed a trademark infringement action against Already, another athletic

footwear company, which counterclaimed to invalidate Nike’s trademark. Nike

thereafter entered a covenant promising that it would not enforce the trademark against

Already, which the Court held mooted Already’s counterclaim. Id. The Court also

rejected Already’s alternative competitor-standing argument based on Nike’s receiving

the benefits of an unlawful trademark. Id. at 98–99. The trademark could not inflict a

competitive injury against Already when Already has “a judicially enforceable covenant

protecting it from litigation relating to the … trademark.” Id.

      If anything, Already reinforces Growth Alliance’s use of economic disadvantage as

the lodestar for competitor standing. Already’s standing theory was rejected as

“boundless” because it failed to connect benefits that Nike receives from the trademark

to any disadvantage for Already. Because the covenant allowed Already to use the

trademark to the same extent as Nike, the trademark could not possibly place Already

in a position of economic disadvantage relative to Nike. By contrast, lowering

competitors’ regulatory costs placed an obvious economic disadvantage on the Growth

Alliance plaintiffs. Defendants thus fail to clear the high bar needed to show implicit

overruling of Growth Alliance.

      Defendants next argue that, unlike in Growth Alliance, the “one-time Account

Adjustment had no effect on the regulatory landscape governing private-sector

employers” that compete with Plaintiffs. Appellees’ Br. at 35. They point out that “the

Department’s action [instead] operates on … student loan borrowers, who do not

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compete with plaintiffs.” Id. at 24. But this distinction makes no difference. A

foundational economic principle is that the economic impact of a subsidy (or the

withdrawal hereof) does not depend on whether employers (consumers of labor) or

workers (producers of labor) directly receive it. 3

       In Growth Alliance, the agency action operated on the supply side by lowering the

operating cost of Ohio firms, thereby making them more attractive to customers than

Pennsylvania manufacturers. 144 F.3d at 988. That placed Pennsylvanian firms at an

economic disadvantage and thus conferred standing. Id. The competitor-standing

analysis would have been the same had the agency instead operated on the demand side,

for example, by offering consumers a tax credit or other financial incentive to buy from

Ohio firms rather than Pennsylvania firms. The fact that a policy is directed toward

consumers who themselves do not compete with Pennsylvania manufacturers would

not alter the conclusion that such agency action would place those manufacturers at an

economic disadvantage compared to their Ohio counterparts. It is irrelevant that the

action was not directed at the Ohio firms because the agency would still incentivize

third-party consumers over whom Ohio and Pennsylvania firms compete to favor Ohio

firms at the expense of Pennsylvanian ones.



3
    See, e.g., Subsidies, LEARN ECON., available at https://www.learn-
economics.co.uk/Subsidies.html (last visited Jan. 11, 2024) (distinguishing “economic
incidence of a subsidy[]” and its “legal incidence” to explain that “the benefit of the
subsidy is distributed between consumers and producers” regardless of who directly
receives the subsidy.).

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       The same principle applies in the labor market. The Adjustment affects the

economic incentives of millions of third-party borrowers whom for-profit and public

service employers compete to hire. It reduces their incentive to seek loan forgiveness

by working for public service firms like Plaintiffs, thereby making for-profit

competitors relatively more attractive. Public service firms are placed in a position of

economic disadvantage, which is an injury in fact under Growth Alliance, 144 F.3d at 988.

   B. The Adjustment Economically Disadvantaged Plaintiffs

       Defendants advance three arguments for why the Adjustment does not place

public service employers like Plaintiffs in a position of economic disadvantage: (1) it

does not reduce competitive benefits that PSLF confers on public service employers;

(2) any reduction does not meaningfully affect eligible public service employers’ ability

to recruit and retain college-educated workers; and (3) Plaintiffs are not among public

service employers that the Adjustment injures. Appellees’ Br. at 23–31. None of those

assertions has merit.

          1. The Adjustment Reduces PSLF Incentives that Benefit Public
             Service Employers

       Defendants’ assertion that “PSLF does not entitle [public service] employer[s] to

anything[,]” id. at 25, is contradicted by their own regulation, which explicitly states that

PSLF “is intended to encourage individuals to enter and continue in full-time public

service employment[,]” See 34 C.F.R. § 685.219(a). “By design, … the PSLF statute




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facilitates a public service organization’s recruitment of employees[.]” ABA v. Dep’t of

Educ., 370 F. Supp. 3d 1, 19 (D.D.C. 2019).

       Defendants further argue that “[p]ublic service employers are not harmed”

because borrowers must still have “worked in public service for (at least) 10 years[]” to

receive PSLF forgiveness. Appellees’ Br. at 26. But the “statutory deal Congress

offered” is not, as Defendants suggest, loan forgiveness in exchange for 120 months of

public service employment. Id. Rather, as Defendants concede earlier in their brief, the

borrower must also have “made 120 [qualifying] monthly payments” and be “employed

full-time in a public-service job at the time each of the 120 monthly payments was

made.” Id. at 5 (citing 20 U.S.C. § 1087e(m)(1)(A), (B); 34 C.F.R. § 685.219). Defendants

further concede that the Adjustment “affects what counts as a payment” by crediting

non-payments during periods of long-term forbearance as qualified monthly payments.

Id. at 25. For purposes of assessing standing, the Court must “accept as valid” Plaintiffs’

allegation that such crediting is unlawful. FEC v. Cruz, 142 S. Ct. 1638, 1647 (2022).

The Adjustment thus unlawfully counts non-qualifying periods toward PSLF’s 120-

month requirement. As a result, affected PSLF participants have fewer years of

payment-and-service requirement remaining, and they will receive forgiveness sooner

than they otherwise would be eligible. Defendants thus reduce the competitive benefits

that PSLF confers on public service employers like Plaintiffs.

      Defendants next claim that “the Account Adjustment would give [public service

employers] a competitive advantage” because borrowers’ “path to loan forgiveness will

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not be impeded by the poor recordkeeping or abusing practices of loan servicers.”

Appellees’ Br. at 27. But Plaintiffs do not challenge Defendants’ efforts to improve

recordkeeping or to prevent abusive practices. They challenge only the one-time

counting of past periods of non-payment as PSLF-qualifying payments. That cannot

make PSLF more attractive because, by its very nature, the backward-looking One Time

Account Adjustment cannot affect PSLF participants’ forward-looking incentives.

      Defendants further speculate that, if affected borrowers can achieve PSLF loan

forgiveness faster, they may be more inclined to seek such forgiveness by working for

a public service employer. Id. at 27. Under this warped logic, for-profit employers would

have competitor standing to challenge the Adjustment on the ground that it results in

their public service competitors receiving greater labor-market advantages than allowed

under PSLF. It also ignores the fact that when borrowers receive premature forgiveness

under the Adjustment—as many already have—they no longer have any financial

incentive under PSLF to work for a public service employer.

      In any event, as Defendants note, affected borrowers would see their PSLF

payment-and-service term shortened only if they had already been working for public

service employers during prior periods of long-term forbearance. Id. at 25–26. The

Adjustment could not incentivize them to seek PSLF forgiveness by taking public

service jobs when they had already taken such jobs before the Adjustment. It does,

however, reduce their incentive to meet the full ten years of payments while employed

in public services jobs as required by PSLF by shortening their remaining payment-and-

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service term, thereby undermining the benefits that PSLF confers on public service

employers.

          2. The Adjustment Undermines Public Service Employers’
             Recruitment and Retention Efforts

      Defendants next contend that “any marginal change in the incentive for some

borrowers to pursue public service employment would [not] meaningfully affect eligible

employers[.]” Appellees’ Br. at 27 (emphases added). This boils down to arguing that

the economic disadvantage inflicted on each public service employer is small. But there

is no de minimis exception to competitor injury: “a relatively small economic loss—even

an ‘identifiable trifle’—is enough to confer standing.” Adams v. Watson, 10 F.3d 915,

924 (1st Cir. 1993). Plaintiffs thus have standing to challenge agency action that reduces

competitive benefits they receive though PSLF even if “their respective shares of the

aggregate injury will be minimal.” Id.

      Defendants complain that Plaintiffs “do not allege what percentage of PSLF

participants would see their payment counts adjusted.” Appellees’ Br. at 27. But that is

because Defendants’ perfunctory press release devising and announcing the

Adjustment did not estimate the proportion of PSLF borrowers that it would affect. 4


4
  The press release said 40,000 PSLF participants would have their student loans
forgiven immediately, but it did not reveal how many others would receive premature
forgiveness by having their payment account adjusted. Dep’t of Educ. Press Release,
Department of Education Announces Actions to Fix Longstanding Failures in Student Loan
Programs, Apr. 19, 2022, https://www.ed.gov/news/press-releases/department-
education-announces-actions-fix-longstanding-failures-student-loan-programs       (last
visited Jan. 11, 2024).

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At this stage in the litigation, Plaintiffs are entitled to a favorable inference that the

percentage is material. United States v. Ritchie, 15 F.3d 592, 598 (6th Cir. 1994). If

Defendants assert otherwise, there should be discovery so Plaintiffs can test that

assertion. In any event, the precise magnitude of economic disadvantage inflicted on

public service employers is irrelevant. What matters is the direction. Public service

employers have competitor standing if the Adjustment reduces economic benefits that

Congress conferred on them through PSLF, by even a trivial amount. Adams, 10 F.3d

at 924.

      Defendants next contend that Plaintiffs must identify the “subset” of borrowers

who would leave public service employment because the Adjustment reduces their

incentive to take such jobs. See Appellees’ Br. at 28. But the entire premise of competitor

standing is that courts may assume that, when the government changes market

incentives, third-party market actors such as consumers and employees will change their

behavior in ways that economic principles predict. Adams, 10 F.3d at 923 (citations

omitted) (“Indeed, most ‘competitor standing’ cases depend on … core economic

postulates,” such as “standard principles of ‘supply and demand.’”). Hence, there is no

need for “analysis linking [the challenged conduct] to specific, demonstrated economic

harms.” Can. Lumber Trade All. v. United States, 517 F.3d 1319, 1332 (Fed. Cir. 2008). In

Growth Alliance, for instance, this Court found competitor standing without inquiring

into what “subset” of Pennsylvania manufacturers’ sales were affected. 144 F.3d at 988.

Just as manufacturers need not show “lost sales, decreased market share[,]” and the like

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to demonstrate competitive injury, Can. Lumber, 517 F.3d at 1332, employers need not

identify the subset of specific workers who would make different employment decisions

as a result of government action that discourages them from taking public service jobs.

      Put another way, the reduction in financial incentive to take public service jobs

itself is the competitive injury because public service employers must make up for that

shortfall by increasing their recruitment and retention efforts, including increasing

compensation and other benefits to counteract the lost incentives. In Sherley v. Sebelius,

610 F.3d 69, 70–71 (D.C. Cir. 2010), an agency’s expansion of eligibility to apply for

certain grants inflicted a competitive injury on two researchers by forcing them to

compete against a larger number of eligible applicants. The court neither required the

researchers to estimate the number of new applicants nor to identify the subset of grants

that would be affected or denied because of additional competition. Rather, there would

be competitive injury even if the researchers were successful in all their applications

because the need to “invest more time and resources to craft a successful grant

application[]” in response to the expanded eligibility, by itself, “is an actual, here-and-

now injury.” Id. at 74. Again, even a “trifle” amount of additional effort or expense

required is enough for standing. Adams, 10 F.3d at 924.

      Just like the researchers in Sherley, public service employers must respond to the

erosion of PSLF benefits by investing more time and resources to recruit and retain

college-educated employees if they are to maintain the competitive positions that they



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respectively enjoyed in the labor market before the Adjustment. That is likewise a here-

and-now injury sufficient to confer competitive standing.

          3. Plaintiffs Are Among Public Service Employers that the
             Adjustment Injures

      Defendants argue that “even if some public service employers would be harmed”

by the Adjustment, Plaintiffs “would [not] be among that group.” Appellees’ Br. at 28.

They dispute Plaintiffs’ allegations that they compete against for-profit employers for

college-educated workers. See Appellees’ Br. at 29–30. But the Court must accept those

allegations for the purpose of analyzing standing. Ritchie, 15 F.3d at 598.

      Every public service employer that hires college-educated employees competes

with for-profit companies for those employees. Indeed, such competition undergirds

PSLF’s most fundamental premise. Defendants’ own regulation states that PSLF “is

intended to encourage individuals to enter and continue in full-time public service

employment[.]” 34 C.F.R. § 685.219(a). There could be no such encouragement if public

service employers did not compete with for-profit companies to employ those

individuals. Plaintiffs are not somehow unique among public service employers in being

immune from that competition.

      Defendants next rely on the straw-man argument that Plaintiffs do not “compete

in the same nationwide labor market for all their staff positions with all private-sector

employers.” Appellees’ Br. at 30 (emphasis added). But competitor standing does not

require a party to suffer economic disadvantage with respect to all competitors. Rather,


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economic disadvantage with respect to even a single competitor is enough. See, e.g., U.S.

Telecom Ass’n v. FCC, 295 F.3d 1326, 1331 (D.C. Cir. 2002) (association had standing to

challenge a single company’s eligibility for federal subsidies). Moreover, the Court must

accept Plaintiffs’ allegation that they engage in nationwide labor-market competition.

That allegation is not conclusory because a cursory review of Plaintiffs’ respective

websites would reveal their staff received education from a variety of institutions from

around the country.5 In any event, even if the labor markets in which Plaintiffs compete

were somehow limited to Michigan and Washington, D.C., as Defendants claim without

evidence, see Appellees’ Br. at 30, Plaintiffs would still compete with some for-profit

employers in those areas.

       Plaintiffs need not specify the precise percentages of their respective workforces

that are eligible for PSLF to establish they are among the group of public service

employers harmed by the erosion of PSLF incentives. See Appellees’ Br. at 28–29. This

Court, for instance, did not require Pennsylvania manufacturers in Growth Alliance to

prove the percentage of their future customers who would be lured toward Ohio firms.

Nor did researchers in Sherley need to specify the proportion of their future grant

applications that would be affected by the agency’s expansion of eligibility. Rather, it

was enough that they “have received and plan to seek NIH grants.” 610 F.3d at 71.



5
 See Cato Institute, Policy Scholars, available at: https://www.cato.org/people/policy-
scholars (last visited at Jan 11, 2023); Mackinac Center for Public Policy, Staff, available
at: https://www.mackinac.org/about/staff (last visited Jan. 11, 2023).

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Plaintiffs likewise have employed, now employ, and plan to attract and employ student-

loan borrowers from around the country with the aid of PSLF incentives. Complaint,

RE1 PageID.3, 11.

       Plaintiffs also need not identify specific employees or prospective employees

whose long-term forbearance was unlawfully counted as qualifying payments under the

Adjustment. See Appellees’ Br. at 29. The Adjustment inflicts economic disadvantage

not just with respect to public service employers’ current employees but also future

ones. Competitive injury in Sherley was based on researchers’ need to increase effort to

be equally competitive in future grants, which was the natural consequence of the

agency expanding the applicant pool. 610 F.3d at 71. They planned to apply for future

government grants affected by the expansion but did not specify which ones. Id. Indeed,

the agency would not have announced future grant opportunities yet at the time the

researchers sued.

       Here, the Adjustment shrinks the pool of borrowers whom PSLF incentivizes to

work for public service employers by prematurely forgiving their loans, thus requiring

Plaintiffs and other public service employees to increase recruitment and retention

efforts to remain equally competitive. Just as the researchers in Sherley were not required

to identify the affected grants that they intended to apply for in the future, Plaintiffs are

not required to name particular borrowers affected by the Adjustment whom they seek

to hire in the future with the aid of PSLF incentives.



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       Even if Plaintiffs were required to plead the precise percentage of their

employees who participate in PSLF or experienced long-term forbearance, the district

court would still have committed reversible error. Instead of dismissing the case sua

sponte, the district court should have given Plaintiffs an opportunity to amend the

complaint with information regarding PSLF-participating employees. See Chase Bank

USA, N.A. v. City of Cleveland, 695 F.3d 548, 558 (6th Cir. 2012) (“Before dismissing a

complaint sua sponte, even if the dismissal is without prejudice, the court must give notice

to the plaintiff.”).6 Whether borrowers experienced long-term forbearance (as defined

by Defendants) on student loan—and thus were affected by the Adjustment—is not

information Plaintiffs would have as their employers. Only Defendants have

information regarding the over 3.6 million borrowers whom the Adjustment affected.

Discovery is thus needed to determine whether the Adjustment affected any of

Plaintiffs’ current or prospective employees. Even if this information were needed—

and it is not for reasons explained above—the district court still would have erred in

sua sponte dismissing the action without giving Plaintiffs an opportunity for discovery.

See Malone v. Stanley Black & Decker, Inc., 965 F.3d 499, 505-06 (6th Cir. 2020) (reversing

denial of jurisdictional discovery).



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 While the district court said the dismissal was “without prejudice,” Judgment, RE14
PageID.96, it “must have intended to dismiss the Plaintiffs’ claims with prejudice
because if not, the court would not have entered a final judgment; rather the court
would have given the Plaintiffs an opportunity to amend and re-file[.]” Robert N. Clemens
Trust v. Morgan Stanley DW, Inc., 485 F.3d 840, 845 (6th Cir. 2007).

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   C. Plaintiffs Satisfy Causation and Redressability

       The case that Defendants contend “demonstrates why causation is lacking” is

not even a competitor-standing case. See Appellees’ Br. at 32 (citing Simon v. E. Kentucky

Welfare Rts. Org., 426 U.S. 26 (1976)). Simon concerned a Treasury rule that allegedly

subjected hospitals that provide certain services to indigent individuals to disfavored

tax treatment. Id. at 42–43. The indigent plaintiffs did not claim competitor standing,

nor did the Court address that doctrine. Rather, they attempted to link the Treasury rule

to hospitals’ specific decisions denying them service, and failed. Id.

       Simon is inapposite because “analysis linking [the challenged conduct] to specific,

demonstrated economic harms” is not required in competitive standing cases. Can.

Lumber, 517 F.3d at 1332. Since the “competitor standing doctrine [already] supplies the

link between increased competition and tangible injury[,]” Plaintiffs need only “supply

the link between the challenged conduct and increased competition.” Air Excursions

LLC v. Yellen, 66 F.4th 272, 281 (D.C. Cir. 2023). In this circuit, increased competition

includes being placed at an “economic disadvantage” with respect to one or more

competitors. Growth Alliance, 144 F.3d at 988. Accordingly, there is no need to trace a

specific decision, such as the denial of service in Simon, to the challenged government

conduct. Again, Sherley did not require researchers to link the challenged agency action

to the denial of any future grant applications. 610 F.3d at 73–74. It is enough to link the

agency action to increased competition, which “will almost certainly cause an injury in

fact.” Id. at 73.

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       The same logic holds in the marketplace, where manufacturers need not link

agency action to lost sales. Can. Lumber, 517 F.3d at 1332. They merely need to plead

that agency action put them in a position of “economic disadvantage” relative to

competitors in order to “allege[] ‘injury in fact’ directly caused by the [agency] decision.”

Growth Alliance, 144 F.3d at 988. Plaintiffs likewise need not link the Adjustment to, for

example, specific PSLF participants declining to accept offers of employment. They

need only connect the Adjustment to economic disadvantage in the recruitment and

retention of PSLF participants as employees, which they succeed in doing because the

Adjustment results in premature forgiveness that eliminates affected borrowers’

incentive under PSLF to work for public service employers.

       Plaintiffs do not offer a “speculative chain of possibilities” under Clapper v.

Amnesty Int’l USA, 568 U.S. 398, 414 (2013), quoted on page 31 of Appellees’ Brief.

Clapper held that activists’ costly and burdensome countermeasures based on their

unsubstantiated “fear of surveillance” are merely “self-inflicted injuries [] not fairly

traceable to the Government’s purported activities.” Id. at 418. By contrast, premature

extinguishment of compensation incentives for PSLF participants to take public service

jobs is not self-inflicted but rather directly traceable to Defendants’ unlawful

administrative Adjustment.

       California v. Texas, 141 S. Ct. 2104, 2113 (2021), cited on page 32 of Appellees’

Brief to rebut causation, actually supports Plaintiffs’ incentive-based standing. That case

concerned a statute that initially incentivized the purchase of health insurance through

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a tax penalty for not doing so, but then Congress “effectively nullified the penalty.” Id.

at 2112. The Court agreed that standing based on third-party purchases existed when

“the penalty provision was still in effect.” Id. at 2114 (citing among other cases NFIB v.

Sebelius, 567 U.S. 519 (2012)). But standing could not be sustained after the penalty was

withdrawn because, without a penalty to incentivize purchases, third-party purchases

were no longer traceable to the challenged statute. Id. In other words, the Court

recognized that financial incentives predict third-party behavior for standing purposes.

When financial incentives are withdrawn—whether a tax penalty or PSLF incentives—

third parties become less inclined to engage in the previously incentivized activity.

Accordingly, fewer workers being attracted to public service jobs when Defendants

prematurely eliminate their PSLF incentives is “the predictable effect of Government

action on the decisions of third parties.” Dep’t of Com. v. New York, 139 S. Ct. 2551, 2566

(2019).

      Air Excursions, 66 F. 4th at 280, cited on page 31 of Appellees’ Brief, is also

inapposite. There, the D.C. Circuit held that “a competitor’s receipt of a windfall” in

the form of pandemic-relief funds, by itself, fell short of competitor standing because

the plaintiff failed to link the windfall to the competitor’s lower prices. Id. The record

indicated that the competitor’s “owners used funds … to reduce their equity stake in

the company, which is inconsistent with an inference that [the competitor] used the

funds to subsidize its pricing decisions[.]” Id. at 279. By contrast, no speculation is

needed to link the Adjustment to reductions in and eliminations of PSLF incentives:

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the promise of loan forgiveness provides zero incentive after the loans are forgiven

prematurely. Nor is it speculative to say that jobs with reduced or eliminated

compensation incentives are less attractive to workers.

      Plaintiffs’ competitor standing is not attenuated under Block Communications, Inc.

v. FCC, 808 Fed. App’x 332, 337 (6th Cir. 2020), cited on page 31 of Appellees’ Brief.

There, a broadcasting station challenged FCC’s grant of “must-carry” rights to a

competitor under the theory that affected local cable systems might drop plaintiff if

they are required to carry the competitor. Id. But the record revealed that local cable

systems routinely carried both the plaintiff’s and the competitor’s stations. Id. Hence, it

was speculative to conclude that requiring the cable systems to carry the competitor

meant they were less likely to carry the plaintiff’s station. Id. That reasoning is

inapplicable here because workers generally do not work full-time simultaneously for

both public service and for-profit employers.

      Unlike Air Excursion and Block, the issue here is not whether a government

benefit to a competitor—whether pandemic-relief funds or broadcast rights—translates

into economic disadvantage to Plaintiffs. Rather, the question is whether the reduction

of PSLF’s competitive advantage to Plaintiffs with respect to affected borrowers causes

competitive injury. No speculation is needed to conclude that discouraging affected

borrowers from public service employment inflicts economic disadvantage on public

service employers like Plaintiffs. That economic disadvantage is traceable to



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Defendants. Enjoining the Adjustment would restore PSLF incentives to work for

public service employers, and therefore would redress the injury.

II.   PLAINTIFFS SUFFERED PROCEDURAL INJURY

      Defendants’ sole argument against procedural-injury standing is that public

service employers like Plaintiffs lack any concrete interest in PSLF. See Appellees’ Br.

at 39–41. That position is untenable, as Defendants’ own regulation recognizes that

PSLF “is intended to encourage individuals to enter and continue in full-time public

service employment[.]” See 34 C.F.R. § 685.219(a). ABA echoes the same conclusion

that “the PSLF statute facilitates a public service organization’s recruitment of

employees[,]” by “providing significant financial subsidies to the borrowers they hire

on the condition they remain employed in public service.” 370 F. Supp. 3d. at 19.7

Plaintiffs are public service employers that have a concrete interest in enjoying the

recruitment and retention advantages Congress bestowed through PSLF. The



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  While ABA applied the “zone-of-interests test,” Appellees’ Br. at 42, that test for
prudential standing is applicable only if Article III standing already exists. See Dismas
Charities, Inc. v. DOJ, 401 F.3d 666, 674 (6th Cir. 2005) (“[T]he zone-of-interests test
derives from … the general prudential standing requirement [for] … even those who
[already] have Article III injury in fact[.]”). In any event, ABA’s zone-of-interests
analysis answers the question here: it concluded that a public service employer has an
economic interest in receiving recruitment and retention benefits conferred by PSLF
incentives, and that such interest fell within PSLF’s zone of interests. Nor does
employers’ lack of “‘legal obligations or rights under the PSLF statute[]’” support
Defendants’ position. See Appellees’ Br. at 43 (quoting ABA, 370 F. Supp. 3d at 25).
That public service employers have no right to claim PSLF subsidies for themselves
does not alter ABA’s conclusion that such employers have a cognizable economic
interest in having those subsidies incentivize borrowers to work for them.

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Adjustment prematurely negates those advantages, thereby injuring Plaintiffs’ economic

interests.

       Plaintiffs never asserted, as Defendants claim, that “injury-in-fact analysis is

relaxed in the procedural rights context.” Appellees’ Br. at 40. Rather, Plaintiffs ask for

the standard analysis—no more relaxed than the one courts apply in environmental

cases. There, “‘environmental plaintiffs adequately allege injury in fact when they aver

that they use [an] affected area’” and “‘the aesthetic and recreational values of the area

will be lessened[.]’” Id. (quoting Friends of the Earth, Inc. v. Laidlaw Envt’l Servs. (TOC),

Inc., 528 U.S. 167, 183 (2000)). The same is true when environmental plaintiffs aver an

aesthetic or recreational interest in observing flora or fauna that agency action allegedly

negatively impacts. See, e.g., Nat’l Fam. Farm Coal. v. EPA, 966 F.3d 893, 909 (9th Cir.

2020) (finding concrete interest in observing monarch butterflies); Ctr. for Biological

Diversity v. EPA, 861 F.3d 174, 183 (D.C. Cir. 2017) (finding concrete interest in

observing longhorn beetles).

       Plaintiffs here similarly aver that they have an economic interest in employing

PSLF-eligible workers and that the Adjustment reduces the pool of such employees

incentivized by PSLF to work for them by prematurely cancelling those workers’ loans.

Plaintiffs do not merely have “‘some day’ intentions” to employ PSLF-eligible workers.

See Appellees’ Br. at 41 (quoting Lujan v. Def’s of Wildlife, 504 U.S. 555, 564 (1992)).

Rather, they have employed such workers in the past and currently employ such

workers. RE1 PageID.3, 11; Goettler (Cato), Decl., RE1-1 and Lehman (Mackinac)

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Decl., 1-2 PageID.23–26. Plaintiffs are also seeking workers to fill current job openings,

id., and are being helped in that recruitment effort by PSLF incentives that, according

to Defendants’ own regulation, encourage student-loan borrowers to take public service

jobs, 34 C.F.R. § 685.219(a). The extent of that PSLF assistance is less than it would

otherwise be because of the unlawful administrative Adjustment.

      Plaintiffs have a concrete economic interest in hiring PSLF-eligible employees

because, contrary to Defendants’ assertions, such employees absolutely “can be paid

less.” Appellees’ Br. at 41. Allowing public service employers to pay less for workers is

one of the purposes of PSLF, which “promotes the interests of public service employers

by providing significant financial subsidies to the borrowers they hire[.]” ABA, 370 F.

Supp 3d at 19. This subsidy means that the effective compensation Plaintiffs offer

PSLF-eligible employees is greater than their ostensible salaries. PSLF thus “reduces

pressure on public service organizations to raise salaries[]” and helps them to attract

and retain desirable employees at a lower cost. Id.

      It does not matter that Plaintiffs do not typically know whether particular

employees (or prospective employees) participate in PSLF. Employees certainly know

their own student-loan situations and are thus incentivized to work for Plaintiffs by the

amount of loans that stand to be forgiven under PSLF. Plaintiffs receive the benefits of

that incentive in the form of lower compensation costs even if they are not aware of

which specific employees are participating in PSLF. Employers offer all kinds of

benefits to attract employees even though they do not know which employees are

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attracted by each offered benefit. For instance, many employers subsidize employees’

meals with an on-site cafeteria. Some workers will be incentivized by this benefit and

others will not—perhaps because they prefer home cooking. An employer’s lack of

knowledge regarding which prospective employees will use the cafeteria does not

change the fact that the cafeteria helps attract and retain workers. If an agency were

required by statute to provide cafeteria meals to help public service employers recruit

workers, and then it arbitrarily took away that cafeteria subsidy with respect to a subset

of individuals, those employers’ economic interests would be negatively impacted

because the pool of incentivized employees would shrink accordingly.

      Student-loan forgiveness under PSLF is simply another government-provided

benefit that public service employers—but not their for-profit competitors—use to

attract and retain employees at reduced cost. Public service employers like Plaintiffs

have a concrete economic interest in maximizing the reach of this statutorily conferred

benefit. By counting non-payments as payments to prematurely cancel student loans,

the unlawful Adjustment reduces the number of borrowers who are encouraged by

PSLF to work for public service employers like Plaintiff. It thereby injures that

economic interest.

                                   CONCLUSION

      For the foregoing reasons, as well as those in the Opening Brief, this Court

should find that Plaintiffs have standing to bring this case. The judgment of the district

court should be reversed, and the matter remanded for further proceedings.

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      This brief complies with the type-volume limit of Federal Rule of Appellate

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      I hereby certify that on January 11, 2024, an electronic copy of the foregoing

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                                           /s/ Sheng Li




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